      Case 2:15-cv-00497-MHT-TFM Document 50 Filed 07/06/16 Page 1 of 33



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION

WEST ALABAMA WOMEN’S CENTER,
DR. WILLIAM J. PARKER, ALABAMA
WOMEN’S CENTER, and DR. YASHICA
ROBINSON WHITE, on behalf of themselves
and their patients,

                       Plaintiffs,

v.
                                             CIVIL ACTION
DR. THOMAS M. MILLER, in his official
capacity as State Health Officer, LUTHER
                                             Case No. 2:15-cv-497-MHT
STRANGE, in his official capacity as Alabama
Attorney General, LYN HEAD in her official
capacity as District Attorney for Tuscaloosa
                                             FIRST SUPPLEMENTAL COMPLAINT
County, ROBERT L. BROUSSARD in his
official capacity as District Attorney for
Madison County, DR. H. JOSEPH FALGOUT,
in his official capacity as Chairman of the
Alabama Board of Medical Examiners, and
DR. JAMES E. WEST, in his official capacity
as Chairman of the Medical Licensure
Commission of Alabama,

                       Defendants.

       Plaintiffs, by and through their undersigned attorneys, bring this First Supplemental

Complaint against the above-named Defendants, their employees, agents, and successors in

office, and in support thereof allege the following:

                                 PRELIMINARY STATEMENT

       1.      Plaintiffs West Alabama Women’s Center (“WAWC”), the sole abortion clinic in

Tuscaloosa, and William J. Parker, M.D., WAWC’s Medical Director, brought this case under

the U.S. Constitution and 42 U.S.C. § 1983, on behalf of themselves and their patients, to

challenge an Alabama Department of Public Health (“ADPH”) regulation that had forced the
      Case 2:15-cv-00497-MHT-TFM Document 50 Filed 07/06/16 Page 2 of 33



clinic to cease providing abortion services. At the time the case was filed, the regulation

required that every physician who performs an abortion at a licensed abortion clinic have staff

privileges at a local hospital (“staff privileges requirement”) or, in the alternative, that the clinic

enter into a written agreement with a local physician who has such privileges to serve as the

clinic’s outside covering physician (“covering physician requirement”)—a requirement WAWC

could not comply with due to circumstances beyond its control that had nothing to do with its

ability to provide safe abortion care.

        2.      Based on evidence of the significant harms WAWC’s temporary closure had

imposed on women seeking abortion services, and the likelihood that the forced closure of the

clinic was unconstitutional, the Court issued a temporary restraining order blocking enforcement

of the regulation on August 4, 2015, allowing the clinic to reopen. Following the entry of the

Court’s TRO, ADPH granted WAWC a one-year waiver from the challenged regulation and

stated that it would undertake rulemaking to modify the regulation in an effort to bring it into

compliance with constitutional requirements. On August 31, 2015, the Court entered a stipulated

order staying litigation in this case and providing that the “plaintiffs shall have up to 30 days

from the effective date of the final rule, in which to review the rule and move this court to

dismiss this action, lift the stay, amend the complaint, or seek other appropriate relief.” Stay

Order ¶ 5 (doc. no. 31).

        3.      ADPH amended its regulation, which became effective on June 2, 2016. The

amended regulation sets forth a series of requirements that an abortion clinic must satisfy if it is

unable to comply with the staff privileges or covering physician requirements. One of the new

requirements poses a medically unjustifiable threat to patient confidentiality by mandating that

every abortion patient receive a copy of her medical records prior to leaving the facility (the



                                                   2
       Case 2:15-cv-00497-MHT-TFM Document 50 Filed 07/06/16 Page 3 of 33



“medical records requirement”). 1 Enforcement of this requirement, which is not imposed on any

other providers of outpatient medical care in Alabama, would jeopardize the privacy of

WAWC’s patients—including patients who are victims of domestic abuse—by forcing patients

to receive a paper trail of their reproductive health care.

         4.     Additionally, while this case was stayed, the Alabama legislature enacted two

new abortion restrictions that would significantly and irreparably harm the health, safety, and

constitutional rights of women seeking abortion services in Alabama if enforced. The first

restriction, Alabama Senate Bill 205, Reg. Sess. 2016 (“SB 205” or the “clinic closure

requirement”), prohibits ADPH from issuing or renewing a health center license to an abortion

clinic or reproductive health center that is located within 2,000 feet of a K-8 public school. 2 If

enforced, SB 205 would not only force WAWC to close, but would also shutter Plaintiff

Alabama Women’s Center (“AWC”), the only abortion clinic in Huntsville. The second

restriction, Alabama Senate Bill 363, Reg. Sess. 2016 (“SB 363” or the “D&E ban”) bans the

safest and most common method of second-trimester abortion, and the only method provided in

outpatient facilities, dilation and evacuation (or “D&E”). 3 Both bills have been signed by the

Governor and are set to take effect on August 1, 2016.

         5.     If allowed to take effect, these new statutes would nullify the relief ordered by

this Court in this case by forcing WAWC—as well as AWC—to close and/or by virtually

eliminating access to second-trimester abortion services in Alabama. Indeed, the statutes would

not only inflict the precise harms that this Court’s prior orders in this case were directed at

preventing, but would significantly amplify those harms by shutting the Huntsville clinic as well



1
    A copy of the amended regulation is attached hereto as Exhibit A.
2
    A copy of SB 205 is attached hereto as Exhibit B.
3
    A copy of SB 363 is attached hereto as Exhibit C.
                                                   3
      Case 2:15-cv-00497-MHT-TFM Document 50 Filed 07/06/16 Page 4 of 33



as the Tuscaloosa clinic—providers of well over half of the abortions in Alabama and the only

clinics that provide abortion services throughout the second trimester.

        6.      To prevent the irreparable harm that the medical records requirement would

impose on their patients, Plaintiffs WAWC and Dr. Parker seek declaratory and injunctive relief

under the U.S. Constitution and 42 U.S.C. § 1983 against that requirement. In addition,

Plaintiffs WAWC and Dr. Parker, along with Plaintiffs AWC and Dr. Robinson White, seek

declaratory and injunctive relief under the U.S. Constitution and 42 U.S.C. § 1983 against SB

205 and SB 363.

                                 JURISDICTION AND VENUE

        7.      This Court has subject matter jurisdiction over Plaintiffs’ federal claims under 28

U.S.C. § 1331 and 28 U.S.C. §§ 1343(a)(3)–(4).

        8.      Plaintiffs’ action for declaratory and injunctive relief is authorized by 28 U.S.C.

§§ 2201 and 2202 and by Rules 57 and 65 of the Federal Rules of Civil Procedure.

        9.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(1) because the majority of

Defendants, who are sued in their official capacities, carry out their official duties at offices

located in this district.

                                             PARTIES

A.      Plaintiffs

        10.     Plaintiff WAWC has provided safe and legal abortions for more than twenty

years. In addition to abortions, WAWC also provides a range of high-quality reproductive health

services, including contraceptive counseling and care, testing and treatment for sexually

transmitted infections, pregnancy testing and options counseling, and referrals for prenatal care

and adoption services.



                                                  4
     Case 2:15-cv-00497-MHT-TFM Document 50 Filed 07/06/16 Page 5 of 33



       11.     Plaintiff WAWC is currently, and always has been, the sole licensed abortion or

reproductive health center in Tuscaloosa. WAWC is also one of only two licensed clinics in

Alabama that provides abortions throughout the second trimester. Apart from an eight-month

period in 2015 when WAWC was temporarily closed, WAWC has for years been the highest-

volume abortion provider in the state. WAWC is located within 2,000 feet of at least one public

K-8 school and would therefore be shuttered by SB 205.

       12.     Plaintiff Dr. Parker is an experienced and highly-credentialed board-certified

obstetrician/gynecologist (“ob-gyn”) and abortion provider, and is the Medical Director of

WAWC. The abortion services Dr. Parker provides at WAWC include D&E procedures banned

by SB 363.

       13.     Plaintiff Alabama Women’s Center (“AWC”) has provided safe and legal

abortions for fifteen years. In addition to abortions, AWC also provides a range of high-quality

reproductive health services, including contraceptive counseling and care, testing and treatment

for sexually transmitted infections, pregnancy testing and options counseling, and referrals for

prenatal care and adoption services. AWC is located within 2,000 feet of at least one public K-8

school and would therefore be shuttered by SB 205.

       14.     Plaintiff AWC is the sole licensed abortion or reproductive health center in

Huntsville. Together with WAWC, AWC is one of only two licensed clinics in Alabama that

provides abortions throughout the second trimester.

       15.     Plaintiff Yashica Robinson White, M.D. is an experienced and highly-

credentialed board-certified ob-gyn and abortion provider, and is the Medical Director of AWC.

The abortion services Dr. Robinson White provides at AWC include D&E procedures banned by

SB 363.



                                                 5
      Case 2:15-cv-00497-MHT-TFM Document 50 Filed 07/06/16 Page 6 of 33



B.     Defendants

       16.     Defendant Thomas M. Miller, M.D., is the State Health Officer at the Alabama

State Department of Public Health, located at 201 Monroe Street, Montgomery, Alabama.

Among other things, he is responsible for supervising and directing all activities of ADPH,

pursuant to Ala. Code § 22-2-2 et seq., including the licensing, inspecting, and disciplining of

abortion or reproductive health care centers, see Ala. Code § 22-21-20 et seq.; Ala. Admin. Code

r. 420-5-1-.01 et seq. As such, Defendant Miller is responsible for enforcing ADPH’s medical

records requirement and SB 205’s requirement that ADPH not issue or renew licenses to

abortion clinics located within 2,000 feet of a K-8 public school. In addition, Defendant Miller

is responsible for ensuring that patient care at abortion clinics is “rendered in accordance with all

applicable . . . state . . . laws,” Ala. Admin. Code r. 420-5-1-.03(1), including SB 363’s D&E

ban. Defendant Miller is sued in his official capacity.

       17.     Defendant Luther Strange is the Attorney General of Alabama, located at 501

Washington Avenue, Montgomery, Alabama. The Attorney General may—at “any time he or

she deems proper”—“superintend and direct the prosecution of any criminal case in any of the

courts of this state,” Ala. Code § 36-15-14, and may also “direct any district attorney to aid and

assist in the investigation or prosecution of any case in which the state is interested,” Ala. Code §

36-15-15. Additionally, the Attorney General “shall give the district attorneys of the several

circuits any opinion, instruction or advice necessary or proper to aid them in the proper discharge

of their duties.” Id. As such, Defendant Strange is responsible for criminal enforcement of SB

363. Defendant Strange is sued in his official capacity.

       18.     Defendant Lyn Head is the District Attorney for Tuscaloosa County, located at

714 Greensboro Avenue, Tuscaloosa, Alabama. District attorneys have the power to “draw up

all indictments and to prosecute all indictable offenses” within their territory. Ala. Code § 12-
                                                  6
      Case 2:15-cv-00497-MHT-TFM Document 50 Filed 07/06/16 Page 7 of 33



17-184(2). As such, Defendant Head is responsible for criminal enforcement of SB 363.

Defendant Head is sued in her official capacity.

        19.     Defendant Robert L. Broussard is the District Attorney for Madison County,

located at 100 North Side Square, Huntsville, Alabama. District attorneys have the power to

“draw up all indictments and to prosecute all indictable offenses” within their territory. Ala.

Code § 12-17-184(2). As such, Defendant Broussard is responsible for criminal enforcement of

SB 363. Defendant Broussard is sued in his official capacity.

        20.     Defendant H. Joseph Falgout, M.D., is Chairman of the Alabama Board of

Medical Examiners, located at 848 Washington Avenue, Montgomery, Alabama. The Board of

Medical Examiners is responsible for licensing and disciplining physicians in Alabama. See Ala.

Code § 34-24-53; Ala. Admin. Code r. 540-X-l-.07. As such, Defendant Falgout is responsible

for enforcing SB 363 with respect to physician licensing. Defendant Falgout is sued in his

official capacity.

        21.     Defendant James E. West, M.D., is Chairman of the Medical Licensure

Commission of Alabama, located at 848 Washington Avenue, Montgomery, Alabama. The

Medical Licensure Commission is empowered to “issue, revoke, suspend and reinstate all

licenses” authorizing physicians to practice, and is responsible for licensing and disciplining

physicians in Alabama. Ala. Admin. Code r. 545-X-l-.06. As such, Defendant West is

responsible for enforcing SB 363 with respect to physician licenses. Defendant West is sued in

his official capacity.

                                    PRIOR PROCEEDINGS

A.      Planned Parenthood Southeast Litigation

        22.     This Court has twice considered the constitutionality of state laws and regulations

that would burden abortion access in Alabama by forcing abortion clinics to close.

                                                   7
      Case 2:15-cv-00497-MHT-TFM Document 50 Filed 07/06/16 Page 8 of 33



        23.     In April 2013, the Alabama Legislature passed Alabama House Bill 57, Reg. Sess.

(2013) (“HB 57” or “the staff-privileges statute”), which, inter alia, required all physicians

providing abortions at a licensed abortion clinic to obtain staff privileges at a hospital within the

same metropolitan statistical area as the clinic. See Ala. Code § 26-23E-4(c).

        24.     On June 11, 2013, three of Alabama’s five licensed abortion clinics filed a

constitutional challenge to the staff-privileges statute. See Planned Parenthood Se., Inc. v.

Bentley, No. 2:13-cv-00405-MHT (hereinafter “PPSE docket”), Compl. (doc. no. 1).

        25.     On June 28, 2013, the District Court granted the PPSE litigation plaintiffs’ motion

for a temporary restraining order. See PPSE docket, TRO Op. & Order (doc. no. 49).

        26.     From May to June 2014, the District Court held an eleven-day bench trial on the

constitutionality of the staff privileges statute. At trial, the Court considered evidence and

testimony regarding, among other things, the availability of abortion in Alabama and the

obstacles that women in Alabama would face if clinics were forced to close and women were

required to travel outside their home cities and/or longer distances to obtain abortions.

        27.     On August 4, 2014, the Court issued an opinion declaring the staff-privileges

statute unconstitutional as applied to the plaintiffs in that case. See PPSE docket Op., Aug. 4,

2014 (doc. no. 238). The Court issued an opinion and final judgment declaring the staff-

privileges statute facially unconstitutional on March 25, 2016. See PPSE docket, Final Op. (doc.

no. 275).

B.      Prior Proceedings in This Action

        28.     Plaintiffs WAWC and AWC were not parties to the PPSE litigation because, at

the time of filing in 2013 and through trial in 2014, each clinic employed one or more physicians

with local hospital staff privileges.

        29.     WAWC’s long-time physician, Dr. Payne, retired on December 31, 2014.
                                                  8
      Case 2:15-cv-00497-MHT-TFM Document 50 Filed 07/06/16 Page 9 of 33



       30.     At that time, the ADPH regulation at issue in this action required that every

physician who performs an abortion at a licensed abortion clinic have staff privileges at a local

hospital or, in the alternative, that the clinic enter into a written agreement with a local physician

who has such privileges to serve as the clinic’s outside covering physician.

       31.     The regulation applied only to clinics that provide abortion care and not to health

care facilities that provide other services of comparable or greater risk.

       32.     Before Dr. Payne’s retirement, Plaintiff Dr. Parker agreed to move to Tuscaloosa

in order to apply for staff privileges and to succeed Dr. Payne as the Medical Director of WAWC

and serve as its full-time physician.

       33.     Despite exhaustive efforts, and for reasons completely unrelated to his

qualifications as an abortion provider, Dr. Parker was unable to obtain local hospital staff

privileges, and WAWC was unable to secure the services of an outside covering physician.

       34.     WAWC and Dr. Parker filed this action on July 10, 2015, seeking declaratory and

injunctive relief against the covering physician requirement, which had forced WAWC to

discontinue abortion services and was inflicting irreparable harm on women in need of such

services. See Compl. (doc. no. 2).

       35.     This Court entered a temporary restraining order temporarily blocking

enforcement of the challenged regulation against the Tuscaloosa clinic on August 4, 2015. TRO

Order (doc. no. 20).

       36.     In its opinion issued August 13, 2015 (doc. no. 23-1), the Court reasoned that the

justifications for applying the regulation to WAWC were weak and detailed the harms that the

closure of WAWC imposed on women seeking abortion services in Alabama. Those harms

included:



                                                  9
     Case 2:15-cv-00497-MHT-TFM Document 50 Filed 07/06/16 Page 10 of 33



              •   the reduced availability of abortion providers, which imposed travel obstacles that
                  for some women were insurmountable and for others resulted in delay and other
                  serious harms;
              •   the particularly severe obstacles imposed on women in need of an abortion after
                  16 weeks, who had no option but to travel to Huntsville for such services;
              •   the reduced capacity of the remaining clinics in the state; and
              •   the heightened risk that women would resort to medically unsupervised self-
                  abortion as a result of the decreased access to licensed abortion providers.

        37.       On August 26, 2015, the parties filed a stipulation seeking to stay this litigation to

give ADPH the opportunity to modify the regulation to bring it into compliance with

constitutional requirements. Proposed Stipulated Order (doc. no. 27). Pursuant to the

stipulation, the Court entered an order staying the case. See Stay Order (doc. no. 31).

        38.       As detailed in the Court’s order, ADPH granted WAWC a waiver from Ala.

Admin. Code, Rule 420-5-1-.03(6)(b) until August 24, 2016. Id. ¶ 1.

        39.       The Court’s order provided that “[t]he plaintiffs shall have up to 30 days from the

effective date of the final rule, in which to review the rule and move this court to dismiss this

action, lift the stay, amend the complaint, or seek other appropriate relief.” Id. ¶ 5.

                               THE CHALLENGED REGULATION

        40.       On October 27, 2015, ADPH proposed a new regulation to replace the

requirement this Court had enjoined.

        41.       The proposed regulation provided an alternative means to comply with the staff

privileges and/or covering physician requirement. Pursuant to this alternative, a clinic that was

unable to satisfy the staff privileges and/or covering physician requirement could continue to

provide abortion services if it complied with a series of detailed requirements concerning, inter

alia, staff training, complication management, medical provider availability, and follow-up care.

Plaintiffs did not object to this proposal.



                                                    10
     Case 2:15-cv-00497-MHT-TFM Document 50 Filed 07/06/16 Page 11 of 33



       42.     On December 16, 2015, the State Committee of Public Health rejected the

proposed regulation.

       43.     On February 18, 2016, ADPH issued a second proposed regulation (the

“Amended Regulation”). The regulation provided a detailed alternative to the staff privileges

and/or covering physician requirement that was substantially similar to the prior proposed

regulation, with one significant addition. 4 Under the Amended Regulation, a clinic that is unable

to comply with the staff privileges and/or covering physician requirement would also be required

to ensure that every “patient shall receive a copy of her medical record that pertains to the

current abortion procedure prior to leaving the facility.” Ala. Admin. Code r. 420-5-1-

.03(6)(c)(5) (effective June 2, 2016).

       44.     During the comments period, ADPH received multiple comments opposing the

medical records requirement on the basis that it would pose an unacceptable threat to patient

confidentiality and singled out abortion providers for a requirement not imposed on any other

healthcare providers. ADPH did not seek to modify the Amended Regulation.

       45.     On April 14, 2016, the State Committee of Public Health approved the Amended

Regulation.

       46.     The Amended Regulation became effective on June 2, 2016, although WAWC’s

waiver from its requirements remains valid through August 24, 2016.

                               THE CHALLENGED STATUTES

       47.     While this case was stayed, and prior to the effective date of the Amended

Regulation, Alabama enacted two new statutory abortion restrictions that would decimate



4
  The amended regulation also requires clinics provide each patient with a consent form
explaining that the clinic does not have a back-up doctor, a requirement Plaintiffs do not
challenge.
                                                 11
        Case 2:15-cv-00497-MHT-TFM Document 50 Filed 07/06/16 Page 12 of 33



abortion access in the state if enforced, nullifying the relief issued by this Court earlier in this

case.

         48.      Both bills state that they “shall become effective on the first day of the third

month following its passage and approval by the Governor, or its otherwise becoming law.” SB

205, § 2; SB 363, § 11. Governor Bentley signed the bills into law on May 12, 2016, and

accordingly they both take effect on August 1, 2016.

A.       SB 205

         49.      SB 205, the clinic closure requirement, would shutter the two clinics that provide

well over half of the abortions in Alabama, and the only providers of abortion services

throughout the second trimester.

         50.      Under SB 205, “[t]he Alabama Department of Public Health may not issue or

renew a health center license to an abortion clinic or reproductive health center that performs

abortions and is located within 2,000 feet of a K-8 public school.” SB 205, § 1(b).

         51.      The Tuscaloosa and Huntsville clinics are each located within 2,000 feet of at

least one K-8 public school and would be forced to close as a result of SB 205.

         52.      Abortion or reproductive health centers must renew their licenses on an annual

basis in order to continue to provide healthcare services. Plaintiffs’ licenses are valid through

December 31, 2016, and are due to be renewed in December in order to continue operating in

2017. Thus, absent relief from this Court, the Act’s ban on the renewal of abortion or

reproductive health center licenses for facilities located within 2,000 feet of a K-8 public school

will force Plaintiffs’ clinics to close on December 31, 2016.

B.       SB 363

         53.      SB 363 criminalizes the performance of what the statute calls a “dismemberment

abortion.” Although “dismemberment abortion” is not a medical term, the definition in the

                                                    12
     Case 2:15-cv-00497-MHT-TFM Document 50 Filed 07/06/16 Page 13 of 33



statute makes clear that it prohibits a procedure referred to in the medical profession as dilation

and evacuation, or “D&E.” D&E is the safest and most commonly used method of abortion in

the second trimester, and the only method used in outpatient facilities for abortions throughout

the second trimester.

       54.     SB 363 defines “dismemberment abortion” as follows:

       With the purpose of causing the death of an unborn child, purposely to dismember
       a living unborn child and extract him or her one piece at a time from the uterus
       through use of clamps, grasping forceps, tongs, scissors, or similar instruments
       that, through the convergence of two rigid levers, slice, crush, or grasp, or any
       combination of the foregoing, a portion of the unborn child’s body to cut or rip it
       off. This definition does not include an abortion which uses suction to dismember
       the body of the developing unborn child by sucking fetal parts into a collection
       container. This definition includes an abortion in which a dismemberment
       abortion is used to cause the death of an unborn child and suction is subsequently
       used to extract fetal parts after the death of the unborn child.

SB 363, § 2(3).

       55.     An exception to the ban is permitted only when the procedure is “necessary to

prevent serious health risk” to the pregnant woman, which the law defines as “a condition that so

complicates her medical condition that it necessitates the abortion of her pregnancy to avert her

death or to avert serious risk of substantial and irreversible physical impairment of a major

bodily function, not including psychological or emotional conditions.” SB 363, §§ 2(6), 3(a).

       56.     A physician found guilty of violating the ban is subject to two years’

imprisonment, or $10,000 in fines, or both. SB 363, § 7.

       57.     SB 363 creates a cause of action for injunctive relief against an individual who

performs an abortion in violation of the ban. Such a cause of action may be maintained by the

woman who obtains an abortion in violation of the ban; her spouse; her parent or guardian,

irrespective of the woman’s age; her current or former licensed healthcare provider; or a

prosecuting attorney with appropriate jurisdiction. Id. § 4.


                                                 13
     Case 2:15-cv-00497-MHT-TFM Document 50 Filed 07/06/16 Page 14 of 33



       58.     In addition, SB 363 creates a cause of action for damages for physical and

psychological injuries, plus statutory damages in the amount of three times the cost of the

procedure against a person who violates the ban, which can be maintained by the woman who

obtained the abortion, her husband, or her parents if she is a minor. Id. § 5.

       59.     Under SB 363, a plaintiff who obtains a favorable judgment in an action for

injunctive relief or damages is entitled to an award of attorneys’ fees against the defendant. Id. §

6(a). A physician who successfully defends against a claim may obtain attorneys’ fees only if

“the court finds that the plaintiff’s suit was frivolous and brought in bad faith.” Id. § 6(b).

                                   FACTUAL ALLEGATIONS

A.     Abortion in Alabama

       60.     There are five licensed abortion clinics in the state of Alabama—Plaintiff WAWC

in Tuscaloosa; Plaintiff AWC in Huntsville; Reproductive Health Services (“RHS”) in

Montgomery; and two Planned Parenthood Southeast (“PPSE”) health centers located in

Birmingham and Mobile.

       61.     WAWC and AWC are the only licensed clinics in Alabama that provide abortions

throughout the second trimester. Both clinics provide medication abortions through ten weeks of

pregnancy as measured from the woman’s last menstrual period (“LMP”) and surgical abortions

up to twenty-one weeks and six days (21.6) LMP. None of the other licensed clinics in the state

provides abortions past approximately 15.0 weeks LMP.

       62.     On information and belief, between 2012 and 2014, WAWC provided more

abortions than any other clinic in the state by a large margin. According to published statistics,

in 2014, WAWC performed more than 58% of the abortions in Alabama (4,725 procedures). In

2013, WAWC performed approximately 39% of the abortions in Alabama (3,503 procedures);

and in 2012, WAWC performed approximately 44% of the abortions in Alabama (3,710

                                                  14
     Case 2:15-cv-00497-MHT-TFM Document 50 Filed 07/06/16 Page 15 of 33



procedures). Although published statistics are not yet available for 2015, WAWC’s own records

indicate the clinic performed about 1,200 abortions during the months when the clinic was open

last year.

        63.       On information and belief, between 2012 and 2013, AWC provided the second-

highest number of abortions in Alabama. According to published statistics, in 2013, AWC

performed more than 17% of the abortions in Alabama (1,469 procedures). In 2012, AWC

performed nearly 16% of the abortions in Alabama (1,451 procedures). In 2014, AWC was

closed for approximately one-third of the year, and performed nearly 14% of the abortions in

Alabama (1,108 procedures). Although published statistics are not yet available for 2015,

AWC’s own records indicate the clinic performed 2,017 abortions last year.

        64.       WAWC performed 153 second-trimester abortions (at and after 14.0 weeks LMP)

during the months it was open in 2015; 553 such abortions in 2014; and 593 such abortions in

2013. The vast majority of second-trimester abortions at WAWC are performed as a one-day

procedure.

        65.       AWC performed 328 second-trimester abortions in 2015; 84 such abortions

during the months it was open in 2014; and 124 such abortions in 2013. All second-trimester

abortions at AWC are performed as a one-day procedure.

        66.       At both WAWC and AWC, the vast majority of patients are low-income women.

Many struggle to cover the cost of the abortion, as well as other costs related to the procedure

(e.g., transportation, child care, lost wages). Many do not have access to a reliable means of

transportation.

B.      The Medical Records Requirement and its Impact

        67.       The medical records requirement, which applies only to WAWC because Dr.

Robinson White has local hospital staff privileges, imposes a medically unnecessary requirement
                                                15
     Case 2:15-cv-00497-MHT-TFM Document 50 Filed 07/06/16 Page 16 of 33



that forces each one of WAWC’s abortion patients to receive a copy of her medical records

before leaving the clinic. If enforced, the requirement would jeopardize the privacy and

confidentiality of WAWC’s patients by making it more difficult to keep their medical history,

including the decision to have an abortion, private.

       68.     Health care providers are the principal stewards of patients’ medical records. It is

well outside standard practice for a health care provider to provide copies of a patient’s medical

record to the patient in the absence of a request to do so.

       69.     Like the preexisting staff privileges and/or covering physician requirement, the

medical records requirement is unique to abortion patients: patients who have any other

outpatient procedure in Alabama, regardless of how complex, are not required to receive copies

of these sensitive documents following medical treatment.

       70.     A patient’s medical records from WAWC contain her most personal and sensitive

information. In addition to details of the abortion procedure itself, this information includes but

is not limited to: the patient’s name, date of birth, social security number, contact information,

race, relationship status, and the name of the person, if any, who referred her, such as a friend or

physician; the patient’s medical and surgical history, including her HIV status, history of

sexually transmitted infections, mental health history, and her pregnancy history, including

number of children, miscarriages, and prior abortions; notes from the patient’s pre-abortion

counseling session about her reasons for seeking the abortion; and the name and signature of the

person who will drive her home from the clinic.

       71.     As is generally the case with medical care, a patient’s medical records are not

complete and finalized at the time of a patient’s discharge from WAWC, but will be reviewed

and finalized within a few days after the procedure. They also lack test and laboratory results



                                                 16
     Case 2:15-cv-00497-MHT-TFM Document 50 Filed 07/06/16 Page 17 of 33



that have not yet been completed. For instance, a pathology report, which is required by

Alabama law, confirms that a pregnancy was intrauterine and not ectopic, and that all of the

products of conception were removed during the procedure. This report takes 7-10 days to

process and will not be reflected in a patient’s medical record until that time.

       72.     WAWC takes special precautions to ensure the security and confidentiality of

patient records. The staff does not refer to patients by name in the reception area, they use paper

medical records that can be duplicated only upon request, and they store them securely.

       73.     It is extremely rare (on average, fewer than one patient a year) for a patient to

request a copy of her entire medical record for her personal use.

       74.     Indeed, because complications from abortion are so rare and can easily be handled

by an emergency room (“ER”) physician or ob-gyn, it is extremely rare for even a hospital or any

other healthcare professional to request a patient’s medical record. However, when WAWC

does receive such a request, it provides a copy immediately.

       75.     If WAWC were required to provide all patients with a copy of their medical

records upon discharge, the patient would have to wait until she has left the recovery room and

her record has been reviewed and photocopied. The medical records requirement would thus

require more staff time and resources and lengthen patient appointment times.

       76.     Legal abortion is one of the safest and most common procedures in contemporary

medical practice.

       77.     A recent peer-reviewed study of first-trimester abortions found that only 0.89% of

abortion procedures performed by physicians resulted in any complication whatsoever; only

.05% patients experienced complications that resulted in hospital admissions. WAWC’s

hospitalization rates, including those for second-trimester abortions, are even lower.



                                                 17
     Case 2:15-cv-00497-MHT-TFM Document 50 Filed 07/06/16 Page 18 of 33



        78.     Of the very few complications that do occur, almost all are safely and

appropriately managed in the clinic setting, either at the time of the procedure or in a follow-up

visit. The physician and clinical staff remain at the clinic until every patient has been certified as

fit for discharge.

        79.     Upon discharge, all of WAWC’s patients are provided with a phone number for a

24-hour hotline (staffed by a registered nurse and Plaintiff Dr. Parker) that they can call

regarding any complications, questions, and concerns that arise after they have left the clinic. In

most cases, the patients’ questions, concerns, or complications can be addressed over the phone

or through a return visit to the clinic; many patients just need reassurance that their symptoms are

normal and will subside. If a return visit is necessary, the patient is given an appointment on the

next day that the clinic is open.

        80.     If Dr. Parker determines that a patient who contacts the after-hours hotline should

be treated or evaluated by a physician sooner, he will refer the patient to a local emergency

room.

        81.     The medical records requirement is medically unnecessary. Emergency room

physicians and on-call ob-gyns are trained to assess and treat gynecological complications that

may occur after an abortion procedure without referring to a patient’s medical records.

        82.     It is extremely rare—indeed, practically unheard of—for any patient to present at

an ER with a copy of her medical record. ER physicians are trained to examine the patient to

independently assess the patient’s symptoms and condition and to determine what course of

treatment is required to treat her. Even if an abortion patient presented with her medical records,

the ER physician would nonetheless do a complete examination and evaluation and would not

assume that her symptoms are necessarily related to her abortion.



                                                 18
     Case 2:15-cv-00497-MHT-TFM Document 50 Filed 07/06/16 Page 19 of 33



       83.     In Alabama, physicians who perform outpatient procedures other than abortion in

an office-based setting, including procedures that pose more risk than abortion, are not required

to give their patients a copy of their entire medical record upon discharge unless the patient

requests it. This is true whether or not the physician has hospital staff privileges or a covering

physician. Similarly, abortion providers who have staff privileges or a relationship with an

outside covering physician pursuant to Ala. Admin. Code r 420-5-1-.03(6)(b) do not have to give

their patients a copy of their medical records upon discharge unless requested. This is true even

though a patient who experiences a very rare complication may receive hospital-based care from

a physician who was neither the original abortion provider nor the clinic’s covering physician.

       84.     The medical records requirement jeopardizes the privacy of WAWC’s patients by

increasing the likelihood that highly sensitive information, including the patient’s decision to

have an abortion, will be exposed to third parties.

       85.     It is not uncommon for WAWC’s patients to be reluctant to take any paperwork

home with them because they worry about creating a paper trail related to their abortion that

could be discovered by someone else.

       86.      For example, protesters outside of clinics in Alabama, including WAWC, have

been known to rummage through the garbage outside the clinic looking for information that

might identify patients.

       87.     Many abortion patients lack access to the resources necessary to store or maintain

medical records in a secure fashion, or to securely dispose of unwanted medical records, such as

with a shredder.




                                                 19
     Case 2:15-cv-00497-MHT-TFM Document 50 Filed 07/06/16 Page 20 of 33



        88.     By contrast, WAWC hires an outside company to shred records box by box under

the clinic director’s direct supervision, after which the company provides a certificate of

destruction.

        89.     The medical records requirement will particularly endanger vulnerable groups of

women, including those who are victims of domestic violence.

        90.     Abusers frequently subject victims to relentless monitoring and scrutiny,

including searching through belongings. Forcing a woman who has just had an abortion to

receive a copy of her medical record reflecting her entire sexual and medical history and the care

she received at WAWC makes it substantially more likely that an abusive partner (or relative)

will learn that information. For victims of abuse, this could jeopardize their wellbeing, safety, or

even their lives.

C.      The Clinic Closure Requirement and its Impact

        91.     If enforced, SB 205 would close the only abortion clinics in Tuscaloosa and

Huntsville, each of which is located within 2,000 feet of one or more K-8 public schools.

        92.     Neither clinic would be able to relocate or reopen if SB 205 were permitted to

close them down.

        93.     Dalton Johnson, the owner and administrator of AWC, originally opened the

Huntsville clinic at a different location—at 612 Madison Street SE—in 2001. However, in 2013,

Alabama enacted HB 57, which, among other things, mandated that abortion clinics meet

enhanced ambulatory health care occupancy and fire safety code standards.

        94.     It was logistically and financially unfeasible to bring the Madison Street facility

into compliance with the new law, and Mr. Johnson was forced to purchase a new building and

relocate in order for abortion services to remain available in Huntsville. To purchase the

building, Mr. Johnson had to cash in his retirement savings and take on a significant amount of
                                                 20
     Case 2:15-cv-00497-MHT-TFM Document 50 Filed 07/06/16 Page 21 of 33



debt. Mr. Johnson remains in debt as a result of the expenditures he made to comply with HB

57. He could not afford to initiate the process of attempting to acquire a new facility again.

       95.     Gloria Gray opened WAWC at its current location with Dr. Payne in 1993.

When HB 57 imposed new facility and fire safety requirements on abortion clinics in 2013, it

cost over $100,000 to bring the clinic into compliance with the new law.

       96.     Ms. Gray had the building appraised in 2015 after these renovations. Despite the

significant investment and updates, the appraisal found that the building was worth only slightly

more than what they paid for it more than twenty years before.

       97.     If SB 205 forced WAWC to close, Ms. Gray would have to close the clinic

permanently. She is near retirement age and could not afford to purchase a new property and

renovate it to meet the specific requirements that apply only to abortion clinics or build a new

property to the proper specifications from the ground-up, without depleting her retirement

savings or otherwise going into debt.

       98.     Even if Mr. Johnson or Ms. Gray could afford to purchase or build different

facilities (which they cannot), they would not do so because the likelihood that Alabama would

enact a new restriction forcing such a facility to close, or undergo additional, expensive

renovations, makes the prospect untenable.

       99.     In the absence of protesters, there would be nothing about WAWC or AWC to

distinguish either clinic from any other outpatient medical provider to an outside observer.

       100.    The leader of an antiabortion group in Huntsville that protests in front of AWC,

Rev. James Henderson, made public statements indicating that his antiabortion group drafted the

clinic closure requirement and advocated for its passage.




                                                21
     Case 2:15-cv-00497-MHT-TFM Document 50 Filed 07/06/16 Page 22 of 33



       101.    The protesters at AWC make specific efforts to target the nearby school in

addition to the clinic. For example, AWC does not begin to see patients until 8:00 a.m., but the

school opens at 7:15 a.m. Protesters show up well before the clinic opens, timing their arrival to

the opening of the school, not the clinic.

       102.    Upon information and belief, Mr. Johnson proposed to a liaison from the

Huntsville Police Department that the clinic delay opening until 9:00 a.m. to minimize any

contact between protesters and arriving students, but the protesters rejected that proposal.

       103.    Enforcement of SB 205 would not impact antiabortion protest activities within

2,000 feet of K-8 public schools, because antiabortion protesters do not confine their protests to

abortion clinics, but also target the private offices of physicians who provide abortions.

       104.    For example, before AWC purchased the Sparkman Drive facility, Dr. Robinson

White leased that building for her private ob-gyn office. Dr. Robinson White’s lease started in

August 2013. Two months later, antiabortion protesters applied for, and received, a permit to

protest outside of the Sparkman Drive ob-gyn office on a daily basis starting on October 19,

2013, even though the office was not an abortion clinic.

       105.    The protests continued from October 2013 to the present day, during which time

the facility transitioned from being a private ob-gyn office to an abortion clinic.

       106.    Similarly, when AWC moved from its Madison Street facility to the Sparkman

Drive facility, Dr. Robinson White moved her ob-gyn practice to the Madison Street facility.

Antiabortion protest activity at the Madison Street facility did not cease, despite the fact that the

facility no longer housed an abortion clinic.

       107.    The Madison Street facility where these antiabortion protests currently take place

is located within 2,000 feet of a K-8 public school (as well as a private K-12 school and a private



                                                 22
     Case 2:15-cv-00497-MHT-TFM Document 50 Filed 07/06/16 Page 23 of 33



daycare center). Closing down the abortion clinic at that location did not cause antiabortion

protest activity within 2,000 feet of the school to cease.

       108.    If SB 205 were permitted to take effect, Mr. Johnson would be unable to operate

an abortion clinic at the Sparkman Drive facility, but he would continue to own the building.

Under those circumstances, Dr. Robinson White would utilize the Sparkman Drive facility as an

ob-gyn office as she did before AWC relocated to that space.

       109.    Under Alabama law, physicians in offices that are not licensed as abortion clinics

may perform no more than 10 abortions per month, and no more than 100 per year. Ala. Admin.

Code r. 420-5-1-.01(2)(e). Under that regulation, Dr. Robinson White would provide a limited

number of abortions at the Sparkman Drive facility and the Madison Street facility.

       110.    Upon information and belief, antiabortion protests would continue to target this

office-based abortion practice, just as protesters continued to target the Madison Street facility

long after it transitioned from being an abortion clinic to a private ob-gyn office.

D.     The D&E Ban and its Impact

       111.    SB 363 bans dilation and evacuation, or D&E, abortions, the safest and most

common abortion method used during the second trimester, accounting for more than 95% of all

second-trimester abortions nationally.

       112.    Virtually all abortions in Alabama performed at and after approximately 15.0

weeks LMP are performed at Plaintiffs AWC and WAWC.

       113.    In the first trimester of pregnancy, abortions are performed using medical or

surgical means. Medication abortions, which under recent FDA guidelines are provided up to

10.0 weeks LMP, involve the ingestion of two medications one to two days apart. Surgical

abortions in the first trimester are usually performed using a suction device to aspirate (or empty)

the uterus.
                                                 23
     Case 2:15-cv-00497-MHT-TFM Document 50 Filed 07/06/16 Page 24 of 33



       114.    Starting at approximately 15.0 weeks LMP, Plaintiffs use a combination of

suction and forceps or other instruments to remove the fetus, placenta, and uterine tissues

(products of conception) from the uterus, followed by additional suction to ensure the uterus is

completely empty. Usually, separation or disarticulation of the fetus occurs as the physician uses

instruments to bring fetal tissue through the opening of the cervix.

       115.    The use of instruments, alone or in conjunction with suction, to empty the uterus

in this manner is known as a D&E.

       116.    Other than the D&E method, the only other medically-proven abortion method

available during the second-trimester is known as “induction of labor” or an “induction

abortion.” Induction of labor accounts for only about 5% of second-trimester procedures.

Induction abortions must be performed in a hospital or hospital-like facility (which has the

capacity to admit and monitor a patient overnight). Induction abortions can last for two or even

three days, are extremely expensive, and entail more pain, discomfort, and recovery time for the

patient—similar to that of a woman giving birth—than the D&E procedure.

       117.    Alabama hospitals perform abortions only in extremely rare circumstances and do

not make such services available to most women.

       118.    Therefore, Alabama women have essentially no other option but to obtain

abortions in an outpatient facility, and starting early in the second trimester, D&E is the only

method of outpatient abortion available.

       119.    SB 363 does not appear to prohibit procedures where fetal demise occurs prior to

the use of instruments to remove the contents of the uterus. Beginning at 18.0-20.0 weeks LMP,

some physicians induce fetal demise prior to starting an abortion procedure, usually using an




                                                 24
     Case 2:15-cv-00497-MHT-TFM Document 50 Filed 07/06/16 Page 25 of 33



injection of a medication called digoxin, but this increases the length, complexity and risk of the

abortion.

        120.    Published data show that use of digoxin to induce demise increases risks of

nausea, vomiting, infection, and extramural delivery, while providing no clear medical benefit to

the patient. In addition, digoxin is contraindicated for some patients.

        121.    According to the American Congress of Obstetricians and Gynecologists, “[n]o

evidence currently supports the use of induced fetal demise to increase the safety of second

trimester medical or surgical abortion.” Am. Coll. Obstetricians and Gynecologists, Second

Trimester Practice Bulletin (No. 135, June 2013).

        122.    Digoxin can take several hours, if not longer, to cause demise. As a result, the use

of digoxin typically turns a one-day abortion procedure into a two-day procedure

        123.    Even then, digoxin is not always effective in causing demise. There are no

published studies evaluating the safety of a second injection of digoxin, if the first is

unsuccessful.

        124.    There are virtually no published studies addressing the safety of digoxin prior to

18.0 weeks LMP.

        125.    Physicians, including Plaintiffs, do not use digoxin at any stage in pregnancy at

Alabama abortion clinics. Indeed many physicians, including Plaintiff Dr. Robinson White, are

not trained to use it.

        126.    Therefore, SB 363 imposes a criminal ban, and significant civil penalties, on

Plaintiffs’ second-trimester abortion practice.

E.      Irreparable Harm

        127.    Each of the challenged laws would inflict severe and irreparable injury on

Plaintiffs’ patients if enforced.
                                                  25
     Case 2:15-cv-00497-MHT-TFM Document 50 Filed 07/06/16 Page 26 of 33



       128.    If enforced, the medical records requirement would jeopardize the privacy and

confidentiality of WAWC’s patients by making it significantly more difficult to keep their

medical history, including the decision to have an abortion, private.

       129.    For some of WAWC’s patients, including those who are victims of domestic

violence, being forced to receive copies of their medical records before leaving the clinic would

not only jeopardize their privacy, but would put their wellbeing and safety at risk by making it

more likely that others—including an abusive partner or relative—will learn of the abortion and

harm the woman.

       130.    Enforcement of SB 205 would result in the permanent closure of the only abortion

clinics in Tuscaloosa and Huntsville, and enforcement of SB 363 criminalizes Plaintiffs’ second-

trimester abortion practice. If either or both laws were enforced, it would prevent a significant

number of affected women—many of whom are in dire circumstances—from being able to

obtain safe, legal abortion services in Alabama. Enforcement of either law would lead other

women to resort to medically unsupervised self-abortion due to reduced access to abortion

services.

       131.    If WAWC were forced to close, women who would have obtained abortion

services at the clinic would be forced to travel to another city to obtain abortion services. The

closest provider of abortion services up to 15 weeks is in Birmingham, which is almost sixty

miles from Tuscaloosa. Women in need of abortion services at and after approximately 15

weeks would have no option but to leave the state to obtain an abortion. The closest out-of-state

provider of abortion services throughout the second trimester is in Atlanta, Georgia, which is

more than 230 miles from Tuscaloosa.




                                                 26
     Case 2:15-cv-00497-MHT-TFM Document 50 Filed 07/06/16 Page 27 of 33



       132.    If AWC were forced to close, apart from the very small number of abortions Dr.

Robinson White would be able to perform in an office-based practice, women who would have

obtained abortion services at the clinic would be forced to travel to another city to obtain

abortion services. The closest provider of abortion services before 15 weeks is in Birmingham,

which is more than 100 miles from Huntsville. Women in need of abortion services at and after

approximately 15 weeks would have no option but to leave the state to obtain an abortion. The

closest out-of-state provider of abortion services throughout the second trimester is in Atlanta,

Georgia, which is approximately 180 miles from Huntsville.

       133.    If SB 363 were enforced, women in need of abortion services at and after

approximately 15 weeks LMP would have no option but to leave the state to obtain an abortion.

The closest out-of-state provider of abortion services throughout the second trimester is in

Atlanta, Georgia, which is more than 230 miles from Tuscaloosa, and approximately 180 miles

from Huntsville.

       134.    For many women, the increased travel would make it extremely difficult, and in

many cases impossible, to obtain an abortion. It will cause delay, forcing some women to seek

abortions later in pregnancy when the procedure is more risky and more expensive, and will

prevent others from obtaining an abortion at all. Other women who are unable to surmount the

travel burdens will resort to unsafe self-abortion methods, thereby jeopardizing their health.

       135.    When WAWC was forced to discontinue abortion services between January and

August 2015, these very harms materialized. The forced closure of not just WAWC, but AWC

as well, and/or the elimination of access to most second-trimester abortions, would magnify the

harms that women experienced when WAWC ceased providing abortion services in 2015.




                                                 27
     Case 2:15-cv-00497-MHT-TFM Document 50 Filed 07/06/16 Page 28 of 33



          136.   For example, in the first six months of 2015 when WAWC was closed, the

Montgomery clinic saw more than a 100% increase in the number of patients who sought care at

the clinic but who were past the clinic’s fifteen-week gestational cutoff, and experienced a 50%

increase in telephone calls from such women, as compared with the same period in 2014. At that

time, the Montgomery clinic referred those women to AWC in Huntsville, but if SB 205 were to

take effect, such women would have no option but to leave the state to obtain abortion services.

          137.   When WAWC was temporarily closed, AWC experienced a significant increase

in the number of women calling from western Alabama. Many of these women expressly stated

that they were unable to travel to Huntsville. Some of those callers asked AWC staff about the

best way for a woman to take matters into her own hands to induce an abortion if she is unable to

travel.

          138.   When WAWC was temporarily closed, many women who sought care at AWC

had experienced unwanted delay in obtaining an abortion due to the difficulty of traveling a long

distance to reach the clinic. This problem would be exacerbated if SB 205 forced both WAWC

and AWC to close, and/or if SB 363 forced clinics to cease performing D&Es.

          139.   Upon information and belief, the number of women who obtained abortions in

Alabama during the period in 2015 when WAWC was closed is significantly smaller than the

number of women who obtained abortions in Alabama during the same period in 2014 when

WAWC was open.

          140.   Upon information and belief, even if women were able to overcome the

substantial travel obstacles imposed by the closure of WAWC and AWC, the three remaining

clinics in the state would not have the capacity to accommodate thousands of additional abortion




                                               28
     Case 2:15-cv-00497-MHT-TFM Document 50 Filed 07/06/16 Page 29 of 33



patients each year, to say nothing of the unavailability of abortion services after approximately

15 weeks at the remaining clinics.

       141.     Enforcement of the challenged statutes would therefore cause Plaintiffs’ patients

to suffer irreparable harm by shutting down the clinics providing well over half the abortions in

the state, severely limiting the availability of safe abortion care in the state, and eliminating

access to abortion after the earliest weeks of the second trimester. This will jeopardize women’s

health and force women to continue their pregnancies to term against their will.

       142.     Plaintiffs’ patients will also suffer irreparable harm from the violation of their

constitutional rights if the challenged requirements are not enjoined.

       143.     Plaintiffs’ patients have no adequate remedy at law.

                                      CLAIMS FOR RELIEF

                                              COUNT I

         (Medical Records Requirement – Due Process – Patients’ Right to Privacy)

       144.     The allegations of paragraphs 1 through 143 are incorporated as though fully set

forth herein.

       145.     By jeopardizing the privacy of abortion patients’ confidential information,

including information about their decision to have an abortion, the medical records requirement

violates Plaintiff WAWC’s patients’ right to liberty and privacy as guaranteed by the due process

clause of the Fourteenth Amendment to the U.S. Constitution.

                                             COUNT II

           (Medical Records Requirement – Plaintiffs’ Right to Equal Protection)

       146.     The allegations of paragraphs 1 through 143 are incorporated as though fully set

forth herein.



                                                  29
     Case 2:15-cv-00497-MHT-TFM Document 50 Filed 07/06/16 Page 30 of 33



       147.     By singling out abortion clinics for a medically unnecessary requirement not

imposed on any other outpatient healthcare providers, the medical records requirement violates

Plaintiff WAWC’s right to equal protection as guaranteed by the equal protection clause of the

Fourteenth Amendment to the U.S. Constitution.

                                            COUNT III

          (Clinic Closure Requirement – Due Process – Patients’ Right to Privacy)

       148.     The allegations of paragraphs 1 through 143 are incorporated as though fully set

forth herein.

       149.     The clinic closure requirement violates Plaintiffs’ patients’ right to liberty and

privacy as guaranteed by the due process clause of the Fourteenth Amendment to the U.S.

Constitution. It has the unlawful purpose and effect of imposing an undue burden on women’s

right to choose abortion.

                                            COUNT IV

                     (D&E Ban – Due Process – Patients’ Right to Privacy)

       150.     The allegations of paragraphs 1 through 143 are incorporated as though fully set

forth herein.

       151.     By banning the safest and most common method of second-trimester abortion, the

D&E ban violates Plaintiffs’ patients’ right to liberty and privacy as guaranteed by the due

process clause of the Fourteenth Amendment to the U.S. Constitution.

                                             COUNT V

                (D&E Ban – Due Process – Patients’ Right to Bodily Integrity)

       152.     The allegations of paragraphs 1 through 143 are incorporated as though fully set

forth herein.



                                                  30
     Case 2:15-cv-00497-MHT-TFM Document 50 Filed 07/06/16 Page 31 of 33



        153.      The D&E ban violates Plaintiffs’ patients’ right to bodily integrity guaranteed by

the due process clause of the Fourteenth Amendment to the U.S. Constitution by forcing women

to undergo an unnecessary procedure that their physician does not believe is in their medical

interests in order to effectuate their right to obtain an abortion.




        WHEREFORE, Plaintiffs respectfully request that the Court:

    1. declare Ala. Admin. Code r. 420-5-1-.03(6)(c)(5), SB 205, and SB 363 unconstitutional;

    2. enjoin Defendants, their employees, agents, and successors in office from enforcing Ala.

        Admin. Code r. 420-5-1-.03(6)(c)(5), SB 205, and SB 363 without bond;

    3. award Plaintiffs costs and attorneys’ fees pursuant to 42 U.S.C. § 1988; and

    4. grant Plaintiffs such other, further, and different relief as the Court may deem just and

        proper.




Date: July 6, 2016                                   Respectfully submitted,

                                                     s/ Andrew Beck
                                                     Andrew Beck*
                                                     New York State Bar No. 4740114
                                                     Alexa Kolbi-Molinas*
                                                     New York State Bar No. 4477519
                                                     Jennifer Lee*
                                                     New York State Bar No. 4876272
                                                     AMERICAN CIVIL LIBERTIES UNION
                                                     FOUNDATION
                                                     125 Broad Street, 18th Floor
                                                     New York, NY 10004
                                                     abeck@aclu.org
                                                     akolbi-molinas@aclu.org
                                                     jlee@aclu.org
                                                     (212) 549-2633


                                                   31
Case 2:15-cv-00497-MHT-TFM Document 50 Filed 07/06/16 Page 32 of 33



                                  Randall C. Marshall
                                  ASB-3023-A56M
                                  ACLU FOUNDATION OF ALABAMA, INC.
                                  P.O. Box 6179
                                  Montgomery, AL 36106-0179
                                  rmarshall@aclualabama.org
                                  (334) 265-2754

                                  Attorneys for Plaintiffs

                                  * Admitted pro hac vice




                                32
     Case 2:15-cv-00497-MHT-TFM Document 50 Filed 07/06/16 Page 33 of 33



                                CERTIFICATE OF SERVICE

        I, Andrew Beck, do hereby certify that a true and correct copy of the foregoing will be
filed with the Clerk of Court using the CM/ECF system, which will serve a copy of the same
upon the following counsel of record, on this 6th day of July, 2016:

       P. Brian Hale
       Bethany L. Bolger
       Carol R. Gerard
       Alabama Department of Public Health
       P.O. Box 303017
       Montgomery, AL 36130

I further certify that a true and correct copy of the foregoing will be served upon the following by
hand delivery this same day:
       Luther Strange                                        H. Joseph Falgout, M.D.
       Attorney General of Alabama                           Alabama Board of Medical
       501 Washington Avenue                                 Examiners
       Montgomery, Alabama 36104                             848 Washington Avenue
                                                             Montgomery, Alabama 36104
       Lyn Head
       District Attorney for Tuscaloosa                      James E. West, M.D.
       County                                                Medical Licensure Commission of
       714 Greensboro Avenue                                 Alabama
       Tuscaloosa, Alabama 35401                             848 Washington Avenue
                                                             Montgomery, Alabama 36104
       Robert L. Broussard
       District Attorney for Madison
       County
       100 North Side Square
       Huntsville, Alabama 35801



                                                     s/ Andrew Beck
                                                     Andrew Beck
                                                     New York State Bar No. 4740114
                                                     AMERICAN CIVIL LIBERTIES UNION
                                                     FOUNDATION
                                                     125 Broad Street, 18th Floor
                                                     New York, NY 10004
                                                     abeck@aclu.org
                                                     (212) 549-2633




                                                33
